 STATE OF MINNESOTA                                                    DISTRICT COURT

 COLTNTY OF HENNEPIN                                       FOURTH JUDICIAL DISTzuCT

Jamie Bunkholt,                                             Court File No

               Plaintiff,                                         SUMMONS

      v

John Doe 1, acting in his individual
capacity as a Minneapolis Police Officer;                                    -r,l
                                                                             frl         :]    ,\s   q
John Does 2-6, acting in their individual                                    a           -.I   gt    -.b
                                                                             o,
capacities as Minneapolis Police Officers;                                    rJ
                                                                                         c) (-       :,.fr
John Does 7 and 8, acting in their                                            z          rrr:1
                                                                                         frl         *--.-

                                                                                         = r\) '-rrt
                                                                              (:           =
individual and official capacities         as                                                  =:":
supervisory Minneapolis Police Officers;                                        U)
                                                                                m        H U -, H
Medaria Arradondo, acting in his                                                    2m   $ =         i"'u
individual and official capacities as the
Minneapolis Chief of Police; and the City
                                                                                    U    i ss
                                                                                         A'?
                                                                                         ffl   r-,   t:=
                                                                                         --;
of Minneapolis,

               Defendants



TO:   Defendants, above-named, and their attorneys.


       1.   YOU ARE, BEING SUED. The plaintiff has started a lawsuit against you. The
            Plaintiff s Complaint against you is attached to this Summons. Do not throw these
            papers away. They are official papers that affect your rights. You must respond to
            this lawsuit even though it may not yet be filed with the Court and there may be no
            court file number on this Summons.

       Z.   YOU MUST REPLY WITHIN 20 DAYS TO PROTECT YOUR RIGHTS. You
            must give or mail to the person who signed this Summons a written response called
            an Answer within 20 days of the date on which you received this Summons. You
            must send a copy of your Answer to the person who signed this Summons located at:

            Applebaum Law Firm a/o Andrew Irlbeck Lawyer, Chtd
            First National Bank Building
            332 Minnesota Street, Suite W1610
            St. Paul, MN 55101




                                                                                               Ex. 1
      3.   YOU MUST RESPOND TO EACH CLAIM. The Answer is your written response
           to the Plaintiff s Complaint. In your Answer you must state whether you agree or
           disagree with each paragraph of the Complaint. If you believe the Plaintiff should not
           be given everything asked for in the Complaint, you must say so in your Answer.

      4.   YOU WILL LOSE YOUR CASE TF YOU DO NOT SEND A WRITTEN
           RESPONSE TO THE COMPLAINT TO THE PERSON WHO SIGNED THIS
           SUMMONS. If you do not answer within 20 days, you will lose this case. You will
           not get to tell your side of the story, and the Court may decide against you and award
           the Plaintiff everything asked for in the Complaint. If you do not want to contest the
           claims stated in the Complaint, you do not need to respond. A default judgment can
           then be entered against you for the relief requested in the Complaint.

      5. LEGAL ASSISTANCE.            You may wish to get legal help from a lawyer. lf you do
           not have a lawyer, the Court Administrator may have information about places where
           you can get legal assistance. Even if you cannot get legal help, you must still
           provide a written Answer to protect your rights or you may lose the case.

      6. ALTERNATM             DISPUTE RESOLUTION. The parties may agree to or be
           ordered to participate in an alternative dispute resolution process under Rule 114 of
           the Minnesota General Rules of Practice. You must still send your written response
           to the Complaint even if you expect to use alternative means of resolving this dispute.


                                      Respectfully submitted,

                                      APPLEBAUM LAW FIRM

                                     /s/ Paul Applebaum
Date: Jan. 17,2022                   Paul Applebaum, #223098
                                     First National Bank Bldg.
                                     332 Minnesota St., Ste. WI610
                                     St. Paul, MN 55101
                                     Phone: 651.222.2999
                                     p aul@app I eb auml awfirm. c o m



                                      -and-

                                     ANDREW IRLBECK LAWYER CHTD.

Dated: Ian. 17,2022
                                      /s/ Andrew M. Irlb
                                      Andrew M. Irlbeck, #392626



                                                                                           Ex. 1
First National Bank Bldg.
332 Minnesota St., Ste. Wl610
St. Paul, MN 55101
Phone: 612-986-3895
Fax: 651-223-5179
andr ew @ir lb e ckl aw.   co   m
ATTORNEYS FOR MS. BT]NKHOLT




                                    Ex. 1
